                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                                 Chapter 11

AMYRIS, INC., et al.,                                                  Case No. 23-11131 (TMH)

                                    Debtors.1                          (Jointly Administered)
                                                                       Related Docket No. 642, 643, 644

     ORDER SHORTENING NOTICE PERIOD AND SCHEULING HEARING WITH
       RESPECT TO THE DEBTORS’ MOTION FOR THE ENTRY OF AN ORDER
      (I) AUTHORIZING DEBTORS TO EXECUTE WRITTEN CONSENT OF THE
    BOARD OF MANAGERS OF NOVVI LLC AND (II) GRANTING RELATED RELIEF

                   Upon consideration of the motion (the “Motion to Shorten”)2 of the above-captioned

debtors and debtors-in-possession (collectively, the “Debtors”) for the entry of an order (this

“Order”) shortening notice with respect to: (a) the Debtors’ Motion for the Entry of an Order

(I) Authorizing Debtors to Execute Written Consent of the Board of Managers of Novvi LLC and

(II) Granting Related Relief (the “Motion to Authorize”); and (b) the Debtors’ motion to file the

Motion to Authorize under seal (the “Motion to Seal,” and collectively, the “Motions”) and setting

a hearing on the Motions, all as more fully set forth in the Motion to Shorten; and the United States

District Court for the District of Delaware having jurisdiction over this matter pursuant to

28 U.S.C. § 1334, which was referred to this Court under 28 U.S.C. § 157 pursuant to the Amended

Standing Order of Reference from the United States District Court for the District of Delaware,

dated February 29, 2012; and the Court having found that this is a core proceeding pursuant to

28 U.S.C. § 157(b)(2); and the Court having found that it may enter a final order consistent with


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     A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
     claims and noticing agent at https://cases.stretto.com/amyris. The location of Debtor Amyris Inc.’s principal
     place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
     Emeryville, CA 94608.
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     Capitalized terms used but not defined herein have the meanings ascribed to them in the Motion to Shorten.



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Article III of the United States Constitution; and the Court having found that venue of this

proceeding and the Motion to Shorten in this district is proper pursuant to 28 U.S.C. §§ 1408 and

1409; and due, sufficient, and proper notice of the Motion to Shorten having been provided under

the circumstances and in accordance with the Bankruptcy Rules and the Local Rules, and it

appearing that no other or further notice need be provided; and the Court having found cause for

the relief requested in the Motion to Shorten pursuant to Local Rule 9006-1(e); and the Court

having found and determined that the relief sought in the Motion to Shorten is in the best interests

of the Debtors, their estates, their creditors, their stakeholders, and all other parties in interest, and

that the legal and factual bases set forth in the Motion to Shorten establish just cause for the relief

granted herein; and after due deliberation and sufficient cause appearing therefor;

                IT IS HEREBY ORDERED THAT:

                1.      The Motion to Shorten is GRANTED as set forth herein.

                2.      The Motion to Authorize and the Motion to Seal will be considered by the

Court on November 6, 2023 at 10:00 a.m. (Eastern Time) (the “Hearing”).

                3.      Any response or objection to the Motions shall be filed no later than

November 3, 2023 at 12:00 p.m. (Eastern Time).

                4.      The Debtors are authorized to file a Certification of No Objection on or after

November 3, 2023 at 4:00 p.m. (Eastern Time) in the event that no objections are filed to the

Motions.

                5.      The Debtors’ declarant, Charles Kraft, is authorized to appear at the Hearing

via Zoom.

                6.      This Court shall retain exclusive jurisdiction to hear and determine all

matters arising from or related to the interpretation, implementation, or enforcement of this Order.


                  Dated: October 31, 2023                _________________________________
                  Wilmington, Delaware                   Thomas M. Horan
                                                         United States Bankruptcy Judge
